                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                             CRIMINAL NO. 3:10-cr-88-FDW

UNITED STATES OF AMERICA,            )
                                     )
                        Plaintiff,   )
            v.                       )                                   ORDER
                                     )
ANTHONY MARKEE ALLEN,                )
                                     )
                        Defendant.   )
____________________________________ )

       THIS MATTER is before the Court on the government’s motion to amend the consent order/

preliminary order of forfeiture filed herein on 3:10-cr-88, pursuant to Fed. R. Crim. P. 32.2(c), to

account for a third party’s interest. The government has represented that the subject firearm was

stolen from the third party, whose name does not need to be disclosed, and has recommended that

the third party be deemed to have filed a claim to this asset.

       For good cause shown,

       IT IS THEREFORE ORDERED that the consent order / preliminary order filed on

November 10, 2010, is amended to account for the ownership interest of the third party in the

following firearm, which shall be returned to the third party:

       One Smith & Wesson .357 handgun.

                                                  Signed: November 23, 2010




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